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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff,
v.                                                      Case Number 8:08CR2-002

                                                        USM Number 22126-047

JOSHUA HOLLE,
                        Defendant.
                                                        JESSICA P. DOUGLAS

                                        Defendant’s Attorney
___________________________________
                        JUDGMENT IN A CRIMINAL CASE
                      (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to counts I, II, III and IV of the Second Superseding Information
on October 28, 2008.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:
                                                             Date Offense               Count
          Title, Section & Nature of Offense                  Concluded                Numbers


 16:3372(d)(2) and 16:3373(a)(2) and 18:2 ILLEGAL                                           I
 TRANSPORTATION OF WILDLIFE

 16:3372(d)(2) and 16:3373(a)(2) and 18:2 ILLEGAL                                          II
 TRANSPORTATION OF WILDLIFE

 16:3372(d)(2) and 16:3373(a)(2) and 18:2 ILLEGAL                                          III
 TRANSPORTATION OF WILDLIFE

 16:3372(d)(2) and 16:3373(a)(2) and 18:2 ILLEGAL                                         IV
 TRANSPORTATION OF WILDLIFE

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

Date of Imposition of Sentence:                                         s/ Thomas D. Thalken
  January 13, 2009                                                      United States Magistrate Judge
                                                                              January 16, 2009
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                                            PROBATION

The defendant is hereby sentenced to probation for a term of five (5) years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.

                           STANDARD CONDITIONS OF SUPERVISION

1.      the defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      the defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      the defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      the defendant shall support his or her dependents and meet other family responsibilities;
5.      the defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      the defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      the defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     the defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     the defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     the defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
13.     as directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
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        compliance with such notification requirement.

                             SPECIAL CONDITIONS OF SUPERVISION


1.      Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
        from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute or
        administer any alcohol, just the same as any other narcotic or controlled substance.

2.      The defendant shall submit his or her person, residence, office, or vehicle to a search conducted by
        a United States Probation Officer at any time; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

3.      The defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
        or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
        substance abuse, as directed by the United States Probation officer.

4.      The defendant shall complete 50 hours of community service per year of his probation as
        approved and directed by the United States Probation Officer. The defendant shall be responsible
        for providing the United States Probation Officer with written proof of the number of hours completed.

5.      Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
        Officer.

6.      The defendant shall pay restitution in the amount of $4,500.00 to the Clerk of the United States
        District Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102. Restitution shall be paid in
        accordance with the schedule set forth in the “Schedule of Payments” set forth on page 5 of this
        judgment during the period of probation. The defendant shall be responsible for providing proof of
        payment to the United States Probation officer as directed.

7.      The defendant shall pay a fine in the amount of $3,000.00 to the Clerk of the United States District
        Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102. This amount is due immediately.

8.      The defendant shall provide the United States Probation officer with access to any requested financial
        information.

9.      The $100.00 special assessment is due immediately. Payment should be made to the Clerk of the
        United States District Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102.

10.     The requirement of 18 U.S.C. § 3563 (a) (5) regarding drug testing, that is, testing within fifteen (15)
        days of release on supervised release and to two (2) periodic drug tests thereafter, is suspended until
        further order of the court because the presentence investigation report on the defendant and other
        reliable sentencing information indicates a low risk of future substance abuse by the defendant.

11.     The defendant shall report to the United States Probation office for the District of Nebraska between
        the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha Nebraska, (402) 661-
        7555, within seventy-two (72) hours of being placed on probation and, thereafter, as directed by the
        probation officer.

12.     The defendant shall not hunt or trap or be in the presence of people who are hunting or trapping for
        the first 3 years of his term of probation.
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                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                         Total Fine                       Total Restitution
              $100.00                            $3,000.00                           $4,500.00




                                                   FINE

A Fine in the amount of $3,000.00 is imposed.

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the
fine or restitution is paid in full before the fifteenth day after the date of the judgment,
pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Schedule of Payments
may be subject to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).

                                               RESTITUTION

          Restitution is hereby ordered jointly and severally with: the co-defendant, Tana Holle.

         Restitution in the amount of $4,500.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid in full
prior to the United States receiving payment.
                                                                                        Priority Order
                                **Total Amount               Amount of                  or Percentage
     Name of Payee                  of Loss              Restitution Ordered             of Payment

 Raptor Recovery                     $500.00                    $500.00
 Nebraska, Inc.

 Fish and Wildlife Fund             $4,000.00                  $4,000.00
 of Department of
 Wildlife and Parks in
 Kansas

 Totals                             $4,500.00                  $4,500.00

          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                     SCHEDULE OF PAYMENTS

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated
to pay said sum immediately if he or she has the capacity to do so. The United States of America
may institute civil collection proceedings at any time to satisfy all or any portion of the criminal
monetary penalty.

Without limiting the foregoing, the defendant shall make payments to satisfy the criminal monetary
penalty in the following manner: (a) monthly installments of $100.00 or 3% of the defendant’s gross
income, whichever is greater; (b) the first payment shall commence 30 days following the
defendant’s placement on probation, and continue until the criminal monetary penalty is paid in full;
and (c) the defendant shall be responsible for providing proof of payment to the probation officer
as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Restitution is hereby ordered jointly and severally with: the co-defendant, Tana Holle.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
